         Case 4:19-cv-04073-JST Document 57-6 Filed 08/19/19 Page 1 of 5




                    DECLARATION OF AARON REICHLIN-MELNICK

1.   I, Aaron Reichlin-Melnick, make the following declaration based on my personal

knowledge and declare under the penalty of perjury pursuant to 28 U.S.C. § 1746 that the

following is true and correct.

2.   I am a policy analyst at the American Immigration Council (“Immigration Council”), a

nonprofit and non-partisan organization whose mission includes the use of facts to educate the

public on the important and enduring contributions that immigrants make to America. At the

Immigration Council, I track and analyze immigration-related statistics produced by the

Department of Homeland Security (“DHS”) and the Executive Office for Immigration Review

(“EOIR”), including trends in the processing of asylum seekers and the case outcomes for

individuals placed in removal proceedings.

3.   I am familiar with the relevant public statistics published by DHS and EOIR and the

methodology that DHS and EOIR use to produce statistics relating to the processing of asylum

seekers and to the outcomes of immigration court proceedings. I have previously submitted

declarations analyzing government-produced immigration statistics in Innovation Law Lab v.

McAleenan, 3:19-cv-00807-RS (N.D. Cal. filed Feb. 14, 2019) and Padilla v. ICE, No. 2:18-cv-

00928-MJP (W.D. Wash. filed June 25, 2018).

4.   In preparation for this declaration I have extensively reviewed public statistics on motions to

change venue or transfer in immigration court, as well as information on asylum seekers’

movements inside the United States after entry. I have also reviewed the Ninth Circuit’s stay

decision in this case, as well as this Court’s decision to grant a preliminary injunction.

5.   The data I analyzed reveals that motions to change venue or transfer in immigration court

are routine. Immigrants frequently move from one jurisdiction to another, either of their own free



                                                  1
         Case 4:19-cv-04073-JST Document 57-6 Filed 08/19/19 Page 2 of 5




will or because Immigration and Customs Enforcement (ICE) transfers them from one detention

center to another.

6.   In addition, the location where an asylum seeker enters the United States does not

necessarily correspond to his or her final location once inside the country. Many asylum seekers

who arrive at the border in California or Arizona will move outside the Ninth Circuit’s

jurisdiction, just as many asylum seekers who arrive at the border in New Mexico or Texas will

move inside the Ninth Circuit’s jurisdiction. Some asylum seekers in DHS custody may even be

moved into and out of the Ninth Circuit’s jurisdiction more than once.



                 Immigrants Routinely Change Venue in Immigration Court

7.   Initial jurisdiction for an immigration court proceeding is set by DHS with the filing of a

Notice to Appear. 8 C.F.R. § 1003.14(a). Once the Notice to Appear has been filed, “venue shall

lie at the Immigration Court where jurisdiction vests,” 8 C.F.R. § 1003.20(a), and may only be

changed following a motion by one of the parties. 8 C.F.R. § 1003.20(b).

8.   Where DHS moves a detained immigrant to a new immigration court jurisdiction, it is

required to notify EOIR of the transfer. 8 C.F.R. § 1003.19(g). EOIR reports that change in

jurisdiction as a “transfer.” EOIR has defined “transfer” as “The Department of Homeland

Security’s moving of detained aliens between detention facilities or the administrative transfer of

an alien’s case from one hearing location to another.” EOIR, 2016 Statistics Yearbook (2017), at

Glossary 12. Because EOIR reports “changes of venue” separately from “transfers,” it is possible

to determine the minimum percentage of jurisdictional changes that occurred at DHS’s behest

following the physical transfer of an individual in DHS custody from one jurisdiction to another.




                                                 2
            Case 4:19-cv-04073-JST Document 57-6 Filed 08/19/19 Page 3 of 5




9.     In fiscal year 2017—the most recent year where statistics are available—a total of 115,533

motions to change venue or transfer were granted in immigration court, divided between 68,949

successful change of venue motions and 46,584 transfers. EOIR, 2017 Statistics Yearbook

(2018), at 15.

10. As shown in Figure 1, between 2008 and 2017, changes in jurisdiction (successful changes

of venue and transfers) grew by 182 percent. EOIR, 2012 Statistics Yearbook (2013), at D5.

Changes of venue increased by 193 percent (from 23,550 in 2008), and transfers increased by

168 percent (from 17,386 in 2008). This growth corresponds with the overall growth of both

immigration detention and the immigration court backlogs as a whole.

                     Figure 1: Motions to Change Venue/Transfer by Fiscal Year
     Source: EOIR, Statistics Yearbook 2017 (2018), at 15; EOIR, Statistics Yearbook 2012 (2013), at D5.

 80000

 70000

 60000

 50000

 40000

                                                                                                          68949
                                                                          64520




                                                                                              56239
                                                              50909




                                                                                    50303




 30000

                                                                                                      46584
                                                   43867




                                                                                            41868
                                                                      40895
                                                  39618
                                          38729




                                                            37826




                                                                                  37662
                                          36781
                                 30398




 20000
                       24927
               23550



                       23485

                                23317
              17386




 10000

        0
              2008     2009     2010      2011     2012     2013      2014        2015      2016      2017
                                         Changes of Venue     Transfers


11. EOIR also provides court-level data on changes of venue and transfers. Using this data, it is

possible to determine what percent of jurisdictional changes are granted inside the Ninth Circuit

and outside the Ninth Circuit.


                                                     3
         Case 4:19-cv-04073-JST Document 57-6 Filed 08/19/19 Page 4 of 5




12. In Fiscal Year 2017, 24.4 percent of motions to change venue or transfer (28,237) were

granted in immigration courts inside the Ninth Circuit, compared to 75.6 percent (87,296)

granted in immigration courts outside the Ninth Circuit (see Figure 2).

Figure 2: Change of Venue and Transfers by Fiscal Year, by Immigration Court Location
  Source: EOIR, Statistics Yearbook 2017 (2018), at 16; EOIR, Statistics Yearbook 2016 (2017), at C8;
  EOIR, Statistics Yearbook 2015 (2016), at C8; EOIR, Statistics Yearbook 2014 (2015), at C7, EOIR,
                                Statistics Yearbook 2013 (2014), at C7.

   100,000
     90,000
     80,000
     70,000
     60,000
     50,000
     40,000
     30,000
     20,000
     10,000
          0
                   2013             2014                 2015            2016          2017
                                Inside 9th Circuit       Outside 9th Circuit



13. DHS’s authority to transfer asylum seekers from one jurisdiction to another also means that

individuals may be transferred outside the Ninth Circuit. There are significantly more ICE

detention centers outside of the Ninth Circuit (113) than inside of it (19). See Detention Facility

Locator, ICE.gov, https://www.ice.gov/detention-facilities (last accessed August 18, 2019). ICE

detention data produced through FOIA revealed that as of November 2017, ICE had an average

daily population of 35,350 people detained outside of the Ninth Circuit, compared to 9,908

people detained inside the Ninth Circuit. Nat’l Immigrant Justice Center, ICE Detention




                                                     4
Case 4:19-cv-04073-JST Document 57-6 Filed 08/19/19 Page 5 of 5
